     Case
     Case2:10-cr-00282-APG-GWF  Document 87-1
          2:10-cr-00282-PMP-GWF Document 88 Filed
                                              Filed 07/15/13  Page11ofof11
                                                    07/14/13 Page




 1                            UNITED STATES DISTRICT COURT
 2                                     DISTRICT OF NEVADA
 3

 4    UNITED STATES OF AMERICA,                      )   2:10-cr-282-PMP-GWF-1
                                                     )
 5                    Plaintiff,                     )
                                                     )
 6                    vs.                            )
                                                     )   ORDER
 7    SHIRJIL QURESHI,                               )
                                                     )
 8                    Defendant.                     )
                                                     )
 9

10
           The government filed on July 14, 2013, a motion to unseal the above-captioned case. The
11
      government represented in its filing that the defense consented to the relief that the government
12
      seeks. Having considered the government’s motion and finding good cause to grant it,
13
           IT IS THEREFORE ORDERED that the government’s motion should be and hereby is
14
      GRANTED; it is further
15
           ORDERED that all docket entries and documents entered in the above-captioned case shall
16
      be unsealed, except that documents that are sealed pursuant to established rules and practice of
17
      this Court (for example, defendant’s presentence investigation report) shall remain sealed.
18
           DATED this ______ day of _________,
                        15th day    July, 2013. 2013.
19

20

21

22

23
                                                 UNITED STATES DISTRICT JUDGE
24

25

26
